           Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 1 of 31




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15   Attorneys for Plaintiff, OWEN DIAZ

16                               UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18

19   DEMETRIC DI-AZ, OWEN DIAZ, and                 Case No. 3:17-cv-06748-WHO
     LAMAR PATTERSON,
20
                   Plaintiffs,                      DECLARATION OF MICHAEL RUBIN
21                                                  IN SUPPORT OF AWARD OF
           v.                                       ATTORNEY’S FEES AND EXPENSES
22
     TESLA, INC. dba TESLA MOTORS, INC.;            Date: January 10, 2024
23   CITISTAFF SOLUTIONS, INC.; WEST
     VALLEY STAFFING GROUP;                         Time: 2:00 PM
24   CHARTWELL STAFFING SERVICES, INC.;             Place: Courtroom 2, 17th Floor
     and DOES 1-50, inclusive,                      Judge: Hon. William H. Orrick
25
           Defendants.
26

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                                              -1-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
            Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 2 of 31




 1          I, Michael Rubin, declare as follows:
 2      1. I am a partner in the San Francisco law firm of Altshuler Berzon LLP (“Altshuler
 3   Berzon”), a member of the State Bar of California, and co-counsel to plaintiff Owen Diaz in this
 4   action. I make this declaration of my own personal knowledge, and I am competent to testify to
 5   the matters set forth herein.
 6      2. This declaration is submitted in support of Plaintiff’s Motion for Attorneys’ Fees and
 7   Litigation Costs. I describe below the experience, rates, and expenses of the Altshuler Berzon
 8   professionals in this action and summarize the work we performed in conjunction with our co-
 9   counsel at California Civil Rights Law Group, Alexander Morrison + Fehr LLP, and the Collier
10   Law Firm, LLP.
11                                     Background and Experience
12      3. I graduated in 1977 from the Georgetown University Law Center and clerked for Judge
13   Charles B. Renfrew of the United States District Court for the Northern District of California
14   (1978-79), Chief Judge James R. Browning of the United States Court of Appeals for the Ninth
15   Circuit (1979-80), and Justice William J. Brennan, Jr. of the United States Supreme Court (1980-
16   81). For many years, I have specialized in complex civil litigation and appeals, principally in the
17   area of labor and employment law.
18      4. I have been awarded seven “California Lawyer Attorney of the Year” awards by
19   California Lawyer magazine: winning once in the Worker Health and Safety category (in 2017,
20   for my work in a series of cases establishing the right of workers in California to “suitable
21   seating” at their workstations), three times in the Employment Law Category (in 2016 for my
22   trial and appellate work in the Walmart warehouse workers joint-employer class action litigation;
23   in 2013 for my appellate work in Brinker v. Superior Court in the California Supreme Court; and
24   in 2002 for my trial work in the Saipan sweatshop litigation), once for False Claims Act
25   Litigation (in 2010 for my work leading to the $78 million settlement of government fraud
26   claims against the for-profit University of Phoenix), and once for Criminal Law (also in 2010 for
27   more than a quarter century of work on behalf of a condemned inmate that resulted in my client’s
28   unconditional release from prison in 2010 – a case that also resulted in my receiving the “Johnnie


                                                     -2-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
           Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 3 of 31




 1   Cochran” award from the L.A. Criminal Courts Bar Association). I have been listed for many
 2   years in “The Best Lawyers in America” under labor and employment and appellate law, and
 3   among San Francisco magazine’s Northern California “Super Lawyers” in the areas of appellate
 4   practice, class actions, and labor and employment litigation. Every year since 2012 the Daily
 5   Journal has named me one of the 75 Top Labor and Employment Lawyers in California, and the
 6   Daily Journal has named me one of the 100 Top California Attorneys six times since 2016. I am
 7   also an elected member of the College of Labor and Employment Lawyers where I serve on the
 8   Ninth Circuit Credentials Committee and am a former member of the Board of Directors of the
 9   AFL-CIO’s Lawyers Coordinating Committee. In December 2017, I was awarded the San
10   Francisco Anti-Defamation League’s “Distinguished Jurisprudence” award. I also regularly
11   lecture on developments in California and federal employment law and other topics, including at
12   Stanford Law School and Berkeley Law, and have testified before committees of the United
13   States Senate and House of Representatives on labor and employment issues.
14      5. In addition to my experience in complex civil litigation, I have considerable experience
15   litigating statutory fee-shifting and common-fund fees matters, not only in state and federal trial
16   courts throughout in California and elsewhere, but also in appellate cases establishing the
17   governing legal standards, including as counsel for the plaintiffs in such cases as Laffitte v.
18   Robert Half Int’l Inc., 1 Cal.5th 480 (2016), and Vasquez v. State of California, 45 Cal.4th 243
19   (2008).
20      6. Altshuler Berzon, which has been named as one of California’s “Top Boutique Law
21   Firms” by the Daily Journal, frequently represents parties litigating court-awarded fee issues in
22   state and federal courts. I have been a panelist or principal speaker addressing attorneys’ fee
23   issues at many continuing education panels, including those sponsored by bar associations and
24   other public entities, have testified about fees issues in court, and have been called upon as an
25   expert in state and federal fees litigation to state my opinion as to the appropriateness of fees
26   and/or hourly rates requested by counsel in cases under state and federal fee-shifting statutes.
27      7. During my representation of my clients and other counsel in attorneys’ fees litigation in
28   state and federal court, I have had considerable opportunity to familiarize myself with the hourly


                                                      -3-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
            Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 4 of 31




 1   rates charged by attorneys of varying degrees of experience. In my fees practice, I have reviewed
 2   the hourly rates of dozens of law firms in California and elsewhere. I am also familiar with the
 3   hourly rates awarded by state and federal courts in the cases in which my law firm has acted as
 4   fees counsel during the past 45 years, as well as the rates awarded in many other fees cases by
 5   state and federal courts in California and throughout the country. In addition, I have reviewed
 6   many published surveys of attorneys’ billing rates.
 7      8. Corinne Johnson is a partner at Altshuler Berzon who has been working on the Diaz
 8   matter since late April 2023, principally to assist on the post-trial motions filed by the parties
 9   after the damages retrial. Ms Johnson graduated from the Colorado School of Mines in 2009 and
10   Stanford Law School in 2012, and clerked for the Hon. James L. Robart of the United States
11   District Court for the Western District of Washington and the Hon. David M. Ebel of the United
12   States Court of Appeals for the Tenth Circuit before joining Altshuler Berzon in 2016, where she
13   specializes in complex civil and impact litigation on behalf of labor unions, workers, public
14   entities, and environmental organizations.
15      9. Jonathan Rosenthal is an associate at Altshuler Berzon and is the attorney at our law firm
16   who principally worked with me on the Diaz matter. Jonathan graduated from Harvard College
17   in 2013 and the University of California, Berkeley, School of Law in 2019, where he was elected
18   to the Order of the Coif. In law school, he was an editor of the California Law Review and
19   Ecology Law Quarterly and was a student director of the Tenants’ Rights Workshop. Jonathan
20   served as a law clerk to Judge Vince Chhabria of the United States District Court for the
21   Northern District of California and Judge Patricia Millett of the United States Court of Appeals
22   for the District of Columbia Circuit before joining Altshuler Berzon LLP in the fall of 2021.
23      10. Three other current or former Altshuler Berzon LLP partners also worked on discrete
24   matters in the Diaz case (Stephen Berzon, Jeffrey Demain, and Eve Cervantez), but in the
25   exercise of billing judgment plaintiff’s counsel have elected not to include any of that time in
26   their fee application. Discrete research assignments were also performed by 2022-2023 Altshuler
27   Berzon LLP Fellow Sam Hull, a 2022 graduate of Yale Law School who is currently clerking for
28   the Hon. Richard Clifton on the U.S. Court of Appeals for the Ninth Circuit.


                                                      -4-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
            Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 5 of 31




 1                  History of the Litigation/Altshuler Berzon’s Role
 2       11. The history of this litigation and the allocation of responsibility among law firms are set
 3   forth in the accompanying Declarations of Larry Organ, Bernard Alexander, and Dustin Collier.
 4   Each of those attorneys, and their respective colleagues at the California Civil Rights Law
 5   Group, Alexander Morrison + Fehr LLP, and the Collier Law Firm, LLP, demonstrated
 6   throughout this litigation that they are highly skilled litigators and consummate professionals,
 7   who zealously, effectively, and ethically represented Mr. Diaz and sought to achieve a just and
 8   fair result.
 9       12. Shortly after the first jury’s verdict, plaintiff’s counsel Larry Organ and Bernard
10   Alexander asked Altshuler Berzon to associate as co-counsel in Diaz to focus on post-trial,
11   appellate, and other legal issues. They did so after defendant Tesla, Inc. announced that it was
12   replacing its original trial counsel with a team from Quinn Emanuel Urquhart & Sullivan LLP
13   led by Kathleen Sullivan, the former dean of Stanford Law School. My colleagues and I were
14   asked to be principally responsible for any appellate briefing that might arise and to spearhead
15   much of the post-trial motions briefing and argument, particularly as those motions raised issues
16   that might become relevant to a subsequent appeal or cross-appeals. Over time, as we learned the
17   case and began to interact more closely with trial counsel, our law firm’s role expanded to
18   include having principal research and drafting responsibility for, and often to argue, the lengthy
19   series of motions pertaining to the damages retrial and its aftermath, as well as to assist with
20   overall trial preparation and case strategy for the damages retrial, jury instructions, and motions
21   in limine, which we were able to do efficiently because of the knowledge of the applicable law
22   and facts that Jonathan Rosenthal and I had gained through our previous research and briefing.
23       13. Within our firm, I had principal responsibility for developing case and legal strategies,
24   outlining legal arguments and briefing structure, editing all briefs (and writing several), and
25   handling the court hearings and oral arguments. Jonathan Rosenthal was principally responsible
26   for worked with me on those matters, assisting me and our co-counsel with research, drafting,
27   and legal and factual analysis, and preparing the first (and often, several subsequent) drafts of the
28   principal briefs, jury instructions, and other written materials. Corinne Johnson, who joined our


                                                      -5-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
            Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 6 of 31




 1   team in late April 2023 when Mr. Rosenthal’s and my other personal and professional
 2   obligations limited our availability, was principally responsible under my direction for a
 3   considerable portion of plaintiff’s briefing after the damages retrial.
 4                                               Attorney’s Fees
 5      14. Altshuler Berzon’s regular and customary practice is to require all billers to keep
 6   contemporaneous time records on a daily basis and to describe tasks performed in 0.1 hour
 7   increments. My colleagues and I adhered to that practice throughout this litigation. During the
 8   period covered by this case, my law firm used the ProLaw remote time-entry software to record
 9   our billable time. At or near the time the work was performed, each individual biller input his or
10   her time into ProLaw, which recorded and stored the time as individual electronic entries, along
11   with detailed descriptions of the tasks performed. Shortly after the end of each month, each biller
12   electronically released his or her time entries to the accounting department. The accounting
13   department electronically imported all time entries for that month into the accounting system,
14   which I then personally reviewed and edited for accuracy and in the exercise of billing judgment,
15   deleting any time that I believed many have been duplicative or inefficient. While I exercised
16   billing judgment after conducting my monthly review of the records of my time and that of other
17   attorneys in my office, my colleagues and I also exercised billing judgment before recording our
18   time, because it is our practice not to enter time that we believe may be duplicative, and to
19   reduce time for work that may have been inefficient.
20      15.   As further described in the accompanying Declarations of Bernard Alexander, Larry
21   Organ, and Dustin Collier, my colleagues and I also exercised considerable additional billing
22   judgment after we consolidated each of the professional billers’ time into a single chronological
23   spreadsheet to eliminate unnecessary or unreasonable duplication and wasted efforts.
24      16. The hourly rates sought for Altshuler Berzon attorneys, paralegals, and law clerks are
25   the firm’s 2023 commercial billing rates. Our firm’s commercial rates are supported by our
26   extensive and specialized experience in complex class action litigation and appeals. Based on my
27   experience in attorneys’ fees matters, I believe that Altshuler Berzon’s current commercial rates
28   and the rates sought by our co-counsel in this case are fully consistent with, if not lower than, the


                                                      -6-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
           Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 7 of 31




 1   market rate for legal professionals with comparable expertise, experience and qualifications. In
 2   particular, I am informed and believe that our hourly rates are considerably lower than the rates
 3   of comparably experienced attorneys at Quinn Emanuel Urquhart & Sullivan LLP, counsel for
 4   defendant Tesla.
 5      17. Based on my experience as described above and my personal and professional
 6   interactions with my co-counsel and my substantial familiarity with the quality of the work
 7   product they produced in this case, I also believe that the requested 2023 hourly rates of $975 for
 8   Lawrence A. Organ, $900 for Marqui Hood, $575 for Navruz Avloni, $500 for Cimone A.
 9   Nunley; and $1,200 for J. Bernard Alexander, $575 for Britt Karp, and $525 for Brian Mathias of
10   Alexander, Morrison, & Fehr LLP, and $750 for Dustin Collier, $650 for Drew Teti, and $400
11   for Elizabeth Malay of the Collier Law Firm, are comparable to or lower than the market rates in
12   the San Francisco Bay Area for attorneys with comparable expertise, experience and
13   qualifications handling similarly complex civil litigation.
14      18. Altshuler Berzon’s requested market rates are the rates our law firm charges to
15   commercial clients that we bill for hourly legal services on a monthly basis. Altshuler Berzon’s
16   commercial hourly rates (or their historical equivalents) have been repeatedly paid by clients and
17   approved by numerous courts and arbitrators in cases arising under fee-shifting statutes and/or
18   involving common-fund fees. See, e.g., Chang v. Wells Fargo Bank, N.A., No. 19-cv-01973-
19   HSG (N.D. Cal. Oct. 19, 2023); Center for Workers Rights v. Employment Development Dept.,
20   No. RG21106525 (Alameda County Superior Ct., June 5, 2023); Ellis v. Google, LLC, No. CGC-
21   17-561299 (S.F. Cnty. Super. Ct. Oct. 25, 2022); Kang v. Wells Fargo Bank, N.A., No. 17-CV-
22   06220-BLF, 2021 WL 5826230, at *17 (N.D. Cal. Dec. 8, 2021) (2021 rates); Smiles v.
23   Walgreen Co., No. RG17862495 (Alameda Cnty. Super. Ct. Aug. 7, 2019) (fees awarded at 2019
24   rates of $980/hour for Michael Rubin, $575/hour for associate); Henderson v. JPMorgan Chase
25   Bank, No. 2:11-CV-03428 PSG-PLA (C.D. Cal. filed Apr. 21, 2011) (and related case: fees
26   awarded and approved for 2018 time at $940/hour for Michael Rubin); Beaver v. Tarsadia
27   Hotels, No. 3:11-cv-01842-GPC-KSC (S.D. Cal. Sept. 28, 2017) (order finding Altshuler
28   Berzon’s 2017 rates of $930 per hour for Rubin time reasonable); Spicher v. Aidells Sausage Co.,


                                                     -7-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
           Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 8 of 31




 1   Inc., No. 3:15-cv-05012-WHO (N.D. Cal. May 31, 2017) (order finding Altshuler Berzon’s 2017
 2   rates reasonable, including $930 rate for less senior partner); Medeiros v. HSBC Card Servs.,
 3   Inc., No. CV1509093JVSAFMX, 2017 WL 11632870, at *12 (C.D. Cal. Oct. 23, 2017); Ochoa
 4   v. McDonald’s Corp., No. 3:14-cv-02098-JD (N.D. Cal. Nov. 14, 2016) (order granting motions
 5   for attorney fees and final settlement approval , and concluding that the use of 2016 hourly rates
 6   in calculating Altshuler Berzon LLP’s lodestar in this case, including Rubin’s $925 rate, was
 7   “reasonable”); Salazar v. McDonald’s Corp., No. 3:14-cv-02096-RS (N.D. Cal. Sept. 15, 2017)
 8   (approving Altshuler Berzon LLP’s 2017 rates, including Rubin’s $930 rate); Cancilla v. Ecolab,
 9   Inc., No. 3:12-cv-03001-JD (N.D. Cal. Jan. 15, 2016) (using Altshuler Berzon’s 2015 rates to
10   calculate lodestar value of class counsel’s work); Carrillo v. Schneider Logistics Transloading &
11   Distribution, Inc., et al., No. 2:11-cv-08557-CAS-DTB (C.D. Cal. Sept. 24, 2015) (order
12   approving Rubin’s 2015 rate of $895/hour, the 2015 rates of other Altshuler Berzon attorneys,
13   including $775/hour for a 1994 law graduate, $650/hour for a 2000 law graduate, $630/hour for a
14   2001 law graduate, $550/hour for a 2004 law graduate, and $450/hour for a 2008 law graduate,
15   and Altshuler Berzon’s 2015 rates for Paralegals ($250/hour)).
16      19. Attached hereto as Exhibit A is a true and correct copy of the spreadsheet, created by our
17   bookkeeping department from the contemporaneous time records maintained by Corinne
18   Johnson, Jonathan Rosenthal, other professional billers, and myself, setting for our daily time
19   entries for the work performed on this matter between October 6, 2021 and October 6, 2023. I
20   have personally reviewed each of the entries on this spreadsheet and have exercised billing
21   judgment where appropriate.
22      20. The following chart sets forth the 2023 commercial/market rates for Altshuler Berzon’s
23   professional billers, along with our requested lodestar amounts through October 6, 2023:
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                                                     -8-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
           Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 9 of 31




 1
        Biller                                     Hours                Hourly Rate    Lodestar
        Michael Rubin                              496                  $1,275         $633,165.00
 2      Corinne Johnson                            196.4                $ 825          $162,030.00
        Jonathan Rosenthal                         614.65               $ 650          $399.522.50
 3
        Law Fellow Sam Hull                        15.70                $ 550          $ 8, 635.00
 4      Law Clerks                                 33.20                $ 350          $ 11,656.00
        Paralegals                                 55.40                $ 325          $ 18,005.00
 5

 6                                                         Expenses
 7      21. Altshuler Berzon maintains all records regarding costs expended on each case. Based on
 8   those records, our bookkeeper has compiled our expenses through October 6, 2023, all of which
 9   were necessary to the prosecution of this litigation. These are expenses that we would normally
10   bill to fee-paying clients in the customary course of our practice. The following chart
11   summarizes those expenses, each of which is itemized in Exhibit B, which is the spreadsheet
12   recording all such expenses:
13          Category                                        Amount
14          PACER                                           $ 21.60
            Westlaw                                         $2,612.35
15          Copies/Printing                                 $ 389.00
            Transcript                                      $ 13.65
16
            Postage                                         $     .57
17          Travel/Meals                                    $ 120.00

18          Total                                           $ 3,517.17
19          I declare under penalty of perjury that the foregoing is true and correct to the best of my
20   knowledge. Executed this 25th day of October 2023, at Berkeley, California.
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22
                                                            /s/ Michael Rubin
                                                                Michael Rubin
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                                                     -9-
     DECL. OF MICHAEL RUBIN ISO AWARD OF ATTORNEY’S FEES AND EXPENSES, #3:17-cv-06748-WHO
Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 10 of 31




                 Exhibit A
   Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 11 of 31


Diaz v. Tesla , AB LLP Hours and Lodestar thru 10/06/2023
Biller                              Initials                Hours   2023 Rate        Lodestar
Rubin, Michael                        MR                496.60       1,275.00    $633,165.00




Johnson, Corinne                       CJ               196.40        825.00     $162,030.00
Rosenthal, Jono                       JMR               614.65        650.00     $399,522.50
Hull, Sam                             SEH                   15.70     550.00       $8,635.00
Law Clerk (Milfred)                LC - JDM                  4.90     350.00       $1,715.00
Law Clerk (Simard-Halm)            LC - MSH                 28.30     350.00       $9,905.00
Paralegal (Ashworth)                PL - ARA                 2.80     325.00         $910.00
Paralegal (Mandani)                 PL - LM                 10.10     325.00       $3,282.50
Paralegal (Nelson)                  PL - LCN                 7.10     325.00       $2,307.50
Paralegal (Shively)                 PL - CJS                10.50     325.00       $3,412.50
Paralegal (Smith)                   PL - JKS                18.80     325.00       $6,110.00
Paralegal (Wenzell)                PL - REW                  6.10     325.00       $1,982.50
                                                      1,411.95                  $1,232,977.50
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 12 of 31
  Date     Biller    Hours .   Description                                                   Ref.
10/06/21    MR        0.10     E-mails with Bryan Schwartz, Larry Organ                       1
10/07/21    MR        2.30     Review materials re: Tesla verdict, etc.; research fees,       2
                               interest, form of judgment; e-mails with associate;
10/07/21   JMR        0.20     Strategy conference re: form of judgment;                      3
10/07/21   JMR        2.40     Research and editing re: form of judgment;                     4
10/08/21   MR         3.10     E-mails re: trial record with Larry Organ, Cimone Nunley;      5
                               research re: punitive damages, proportionality, emotional

10/08/21   JMR        0.40     Strategy conference re: post-trial motions;                   7
10/08/21   JMR        0.50     Research re: post-trial motions;                              8
10/09/21   MR         1.80     Research Section 1981, damages, jury instructions,            9
10/10/21   MR         0.90     Review district court docket; trial court documents           10

10/11/21    MR        3.60     E-mails with trial counsel; review district court discovery   12
10/12/21    MR        2.00     Telephone conference re: issues with Jonathan Rosenthal;      13

10/12/21   JMR        3.00     Research for memo on punitive and compensatory                15
10/12/21   JMR        1.30     Strategy call with co-counsel re: post-trial motions;         16
10/12/21   JMR        0.50     Strategy conference re: post-trial motions;                   17
10/13/21   MR         0.30     E-mails re: fee application, factual support                  18
10/13/21   JMR        3.30     Review district court docket & materials;                     19
10/14/21   MR         0.80     Research re: fees application; prepare materials for trial    20
10/14/21   MR         0.20     E-mails re: form of judgment; review filings                  21
10/14/21   JMR        5.10     Review district court materials;                              22
10/15/21   JMR        0.90     Review district court materials;                              23
10/15/21   JMR        1.00     Research emotional distress damages in preparation for        24
10/17/21   JMR        2.00     Research recent cert petitions re: size of punitive           25
10/18/21   MR         1.10     Review trial court filings, PowerPoints, new Dropbox files    26
10/18/21   JMR        6.50     Research constitutional limits on punitive damages in         27
10/18/21   JMR        0.60     Strategy call with Cimone Nunley re: post-trial motions       28
10/22/21   MR         3.60     Review fees brief; edit and comment on fees issues; e-        29
10/26/21   MR         0.70     E-mails re: research, timing for post-trial briefs; e-mails   30
10/26/21   MR         0.30     Review substitution of counsel; telephone conference          31
10/26/21   JMR        1.00     Research re: Tesla post-trial motions and deadlines;          32
10/26/21   JMR        0.70     Research and draft email memo re: deadlines for post-         33
10/27/21   JMR       10.10     Research and draft memo re: availability of punitive          34

10/28/21   JMR        0.50     Research availability of punitive damages in preparation      36
10/29/21   JMR        8.10     Research and draft memo re: limitations on punitive           37
10/30/21   JMR        8.75     Research and draft memo re: limitations on punitive           38
10/31/21   JMR        3.00     Research & draft memo re: limitations on punitive             39
11/01/21   MR         0.10     Review stipulation                                            40
11/02/21   MR         0.20     Review bill of costs, supporting declaration                  41
11/04/21   JMR        0.60     Draft memo re: availability of and limits on punitive         42
11/06/21   JMR        0.50     Draft memo re: availability of and limits on punitive         43
11/07/21   JMR        5.50     Draft memo re: availability of and limits on punitive         44
11/08/21   MR         0.80     Review memo re: punitive damages analysis                     45
                                                                                             46
11/14/21   JMR        2.10     Draft memo re: availability of and limits on emotional        47
11/14/21   JMR        4.00     Legal research re: availability of and limits on emotional    48
11/15/21   MR         0.70     Research re: compensatory damages; revise Jonathan            49
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 13 of 31
  Date      Biller    Hours .   Description                                                      Ref.
11/15/21    JMR        0.50     Strategy emails re: compensatory damages;                         50
11/17/21     MR        3.50     E-mails re: Tesla's motion; review motion; research, e-           51
11/17/21    JMR        0.30     Strategy emails re: post-trial motions;                           52
11/18/21     MR        2.20     Research re: Rule 50, 59 briefing in prior cases; strategy        53
                                conference with Jonathan Rosenthal; prepare for and
11/18/21    JMR        1.30     Strategy videoconference with co-counsel re: post-trial          54
11/18/21    JMR        0.30     Strategy conference re: post-trial motions;                      55
11/18/21    JMR        0.60     Review Tesla post-trial motion;                                  56
11/20/21    JMR        0.40     Strategy emails re: post-trial motions;                          57
11/20/21    JMR        0.20     Strategy emails with co-counsel re: post-trial motions;          58
11/20/21    JMR        0.50     Draft memo re: availability of and limits on emotional           59
11/21/21    MR         1.00     E-mails re: false imprisonment cases, emotional distress         60
11/22/21    MR         0.40     Review drafts, outline from Larry Organ, Cimone Nunley           61
11/24/21    MR         1.20     E-mails with Larry Organ, Cimone Nunley; review,                 62
11/24/21    JMR        0.80     Strategy videoconference with co-counsel re: post-trial          63
11/24/21    JMR        0.40     Draft post-trial brief;                                          64
11/27/21    MR         2.40     Review revised draft; prepare for and conduct                    65
11/28/21    MR         3.60     E-mails with Jonathan Rosenthal re: draft, next steps;           66
11/28/21    JMR        5.00     Draft post-trial brief;                                          67
11/29/21    MR         1.30     Review Jonathan Rosenthal comments; further edits and            68
                                comments on draft; e-mails with co-counsel re: draft;
11/29/21    JMR        2.80     Draft post-trial brief;                                          69
11/30/21    MR         0.30     Prepare Notices of Appearance, e-mails re: same; review          70
12/01/21    MR         0.70     Review new 9th Circuit decision re: failure to supervise; e-     71
12/01/21    JMR        0.40     Draft post-trial brief;                                          72
12/02/21    MR         7.70     Review draft, research, edit brief, strategy conferences         73
12/02/21    JMR        7.20     Draft post-trial brief;                                          74
12/02/21    JMR        0.40     Strategy conference re: post-trial brief;                        75
12/02/21    JMR        0.20     Strategy emails with co-counsel re: post-trial brief;            76
12/03/21    MR         9.90     Research, edit brief, e-mails and phone calls with               77
                                Jonathan Rosenthal; e-mails with trial counsel; telephone
12/03/21     JMR      11.10     Draft post-trial brief;                                          78
12/03/21     JMR       0.30     Strategy conference re: post-trial brief;                        79
12/04/21     MR        3.60     Edit opposition brief; e-mails and telephone calls with          80
12/04/21     JMR       7.40     Draft post-trial brief;                                          81
12/05/21     MR        1.10     Review edits; e-mails with co-counsel                            82
12/06/21     MR       10.40     Edit brief; review co-counsel edits; strategy conferences,       83
12/06/21   PL - ARA    2.80     Litigation Assistant: Work on cite check for plaintiff's opp.;   84
12/06/21     JMR       9.70     Draft post-trial brief;                                          85
12/06/21     JMR       0.50     Strategy conference re: post-trial brief;                        86
12/06/21   PL - JKS    0.20     Litigation Assistant: Email Jonathan Rosenthal with              87
12/06/21   PL - JKS    1.00     Highlight cites in brief and create citation list for Diaz v.    88
12/06/21   PL - JKS    1.90     Check citations for Diaz v. Tesla opposition brief;              89
12/06/21   PL - JKS    0.60     Merge partial cite checks of brief into one copy, clean up       90
12/07/21     MR        3.80     Research, edit brief, request for judicial notice; e-mails       91
                                with co-counsel re: same; telephone conferences with
12/07/21    JMR        1.50     Draft post-trial brief;                                          92
12/22/21    MR         0.90     Review reply in support of motion for new trial, JMOL;           93
12/22/21    JMR        0.30     Review Tesla reply brief;                                        94
12/28/21    MR         1.10     Prepare oral argument outline                                    95
12/28/21    JMR        0.70     Review Tesla reply brief;                                        96
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 14 of 31
  Date     Biller    Hours .   Description                                                   Ref.
12/29/21    MR        2.00     Review briefs, prepare for hearing                             97
12/30/21    MR        1.20     Prepare for oral argument(                                     98
01/02/22    MR        1.20     Prepare oral argument outline                                  99
01/03/22    MR        0.40     Review cases, transcripts; e-mails re: oral argument          100
01/04/22    MR        3.50     Review trial transcripts                                      101
01/05/22    MR        0.40     Prepare for oral argument; review cases, trial transcript;    102
01/06/22    MR        3.80     Prepare for oral argument; research cases, record; revise     103
01/08/22    MR        2.20     Review briefs; read cases; edit outline                       104
01/09/22    MR        0.40     Oral argument preparation                                     105
01/12/22    MR        1.50     Edit oral argument outline; review cases, record              106
01/13/22   JMR        0.50     Strategy conference re post-trial hearing;                    107
01/13/22    MR        3.70     Prepare for moot court; research cases cited by Tesla; e-     108
01/14/22   JMR        1.50     Strategy conference with co-counsel re: upcoming post-        109
01/14/22    MR        2.40     Prepare for oral argument, prepare for and conduct moot       110
01/17/22    MR        2.80     Review new comparator cases; edit oral argument outline       111
01/18/22    MR        2.80     E-mail from court re: Zoom hearing; review cases, briefs,     112
01/19/22   JMR        1.90     Post-trial hearing;                                           113
01/19/22   JMR        0.40     Research re: standard for reviewing jury verdicts;            114
01/19/22    MR        5.40     Prepare for and conduct hearing re: post-trial motions; e-    115
01/20/22    MR        0.60     E-mails re: hearing, transcript                               116
01/22/22   JMR        2.10     Research re: standard of review for compensatory              117
01/23/22    MR        0.20     E-mails with Larry Organ, Bernard Alexander re: fee           118
01/24/22   JMR        5.20     Draft letter brief re: review of comparable cases;            119
01/24/22   JMR        0.20     Strategy emails re: letter brief;                             120
01/24/22    MR        1.40     Review memo re: comparability analysis; research; draft       121
01/25/22    MR        0.40     E-mails re: supplemental authority letter; finalize letter    122
01/27/22    MR        0.30     Review Tesla letter (.2); e-mails re: same                    123
02/14/22    MR        0.30     Review new documents in Dropbox folder                        124
02/16/22    MR        0.50     Review U.S. Amicus brief in Epic Systems v. Tata; e-mails     125
02/28/22    MR        0.40     Review new Supreme Court filing re: punitive damages          126
03/21/22    MR        0.20     Review cert. denial in Epic v. Tesla; email with Rosenthal    127
04/13/22    MR        1.60     Review order; emails and telephone calls with Bernard         128
                               Alexander, Larry Organ, Jonathan Rosenthal; research re:
04/13/22   JMR        0.50     Research appellate procedure;                                 129
04/13/22   JMR        0.70     Review district court order;                                  130
04/14/22   MR         0.30     Emails re: strategy; research appellate options               131
04/18/22   MR         1.80     Research re: appellate issues, Section 1292(b) precedent,     132
                               controlling questions of law; emails with Jonathan
04/18/22   JMR        1.00     Strategy emails re: appeal;                                   133
04/19/22   MR         1.00     Prepare for and conduct teleconference re: strategies (.8);   134
04/19/22   JMR        3.30     Research appellate procedure issues;                          135
04/19/22   JMR        0.80     Videoconference with Larry Organ and Bernard Alexander        136
04/21/22   MR         0.20     Review draft stipulation re: timing of fees application;      137
04/21/22   JMR        0.10     Strategy emails re: 1292(b) motion;                           138
04/22/22   MR         0.10     Review filed stipulation                                      139
04/25/22   MR         0.10     Review order granting stipulation                             140
04/25/22   JMR        0.80     Research 1292(b) motion;                                      141
04/26/22   MR         0.70     Emails with Larry Organ, Jonathan Rosenthal re: next          142
04/26/22   JMR        5.20     Research 1292(b) motion;                                      143
04/26/22   JMR        0.60     Strategy conference re: 1292(b) motion;                       144
04/27/22   MR         0.70     Research cases; emails with Jonathan Rosenthal re: legal      145
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 15 of 31
  Date      Biller    Hours .   Description                                                     Ref.
04/27/22    JMR        4.80     Draft 1292(b) motion;                                           146
04/27/22    JMR        5.90     Research re: 1292(b) motion;                                    147
04/28/22     MR        2.20     Emails with Jonathan Rosenthal re: draft; edit draft;           148
04/28/22    JMR        0.50     Strategy emails re: 1292(b) motion;                             149
04/28/22    JMR        6.60     Draft 1292(b) motion;                                           150
04/29/22     MR        5.10     Research; edit certification motion; emails with Jonathan       151
                                Rosenthal; edit proposed orders, administrative motion;
04/29/22    JMR        4.90     Draft 1292(b) motion;                                           152
04/29/22    JMR        2.50     Draft supporting documents for 1292(b) motion;                  153
04/29/22    JMR        0.20     Strategy emails re: 1292(b) motion;                             154
04/30/22    MR         1.70     Further edits to motions, proposed orders; emails re:           155
05/02/22    MR         1.40     Review Cimone' Nutley's edits, emails with Larry Organ;         156
                                further edits to brief; conferences with Jonathan
05/02/22    JMR        0.30     Strategy emails re: 1292(b) motion;                             157
05/02/22    JMR        0.20     Strategy conference re: 1292(b) motion;                         158
05/02/22    JMR        0.10     Meet and confer with opposing counsel re: 1292(b)               159
05/02/22    JMR        0.70     Draft 1292(b) motion;                                           160
05/03/22    MR         1.40     Further edits; review Bernard Alexander edits; meet and         161
                                confer with Dan Posner; strategy conferences with
05/03/22    JMR        3.30     Draft 1292(b) motion;                                           162
05/03/22    JMR        0.10     Strategy conference re: 1292(b) motion;                         163
                                                                                                164
05/04/22     MR        3.30     Emails with Dan Posner; prepare Michael Rubin                   165
05/04/22    JMR        3.00     Draft 1292(b) motion;                                           166
05/04/22    JMR        1.30     Draft supporting documents re: 1292(b) motion;                  167
05/04/22    JMR        0.20     Strategy emails re: 1292(b) filing;                             168
05/11/22     MR        0.10     Review order; emails re: same                                   169
05/13/22     MR        0.20     Emails re: settlement developments, prospects                   170
05/18/22     MR        0.50     Review opposition to Rule 1292(b) motion                        171
05/19/22     MR        0.90     Strategy conference with Jonathan Rosenthal re: reply           172
05/19/22    JMR        0.20     Research re: reply in support of 1292(b) motion;                173
05/19/22    JMR        0.10     Strategy emails re: 1292(b) briefing;                           174
05/19/22    JMR        0.70     Strategy conference re: reply brief;                            175
05/19/22    JMR        0.90     Review Tesla's 1292(b) opposition brief;                        176
05/20/22    JMR        0.80     Research re: reply in support of 1292(b) motion;                177
05/20/22    JMR        0.20     Draft reply brief;                                              178
05/21/22    JMR        0.50     Draft reply brief;                                              179
05/21/22    JMR        0.60     Research re: reply in support of 1292(b) motion;                180
05/22/22    JMR       12.40     Draft reply brief;                                              181
05/23/22     MR        4.80     Review, edit draft reply brief; emails with Jonathan            182
05/23/22     MR        0.30     Review hearing transcript                                       183
05/23/22    JMR        5.00     Draft reply brief;                                              184
05/23/22    JMR        1.10     Research re: reply in support of 1292(b) motion;                185
05/24/22     MR        2.10     Further edits; emails with co-counsel; review, incorporate      186
05/24/22    JMR        0.30     Strategy emails re: 1292(b) hearing;                            187
05/25/22   PL - CJS    0.80     Litigation Assistant: Do cite check for Jono re: Reply Brief;   188
05/25/22     MR        0.50     Review Jonathan Rosenthal edits; further revisions to           189
05/25/22    JMR        0.60     Research re: reply in support of 1292(b) motion;                190
05/25/22    JMR        3.10     Draft reply brief;                                              191
06/05/22    JMR        1.60     Strategy emails re: 1292(b) hearing;                            192
06/06/22    JMR        0.70     Strategy emails re: 1292(b) hearing;                            193
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 16 of 31
  Date      Biller    Hours .   Description                                                      Ref.
06/07/22     MR        1.20     Review cases; prepare for hearing; emails with Jonathan          194
06/07/22    JMR        0.20     Review order denying 1292(b) motion;                             195
06/13/22     MR        0.90     Strategy conference with co-counsel re: retrial options          196
06/13/22    JMR        0.90     Strategy videoconference with co-counsel re: remittitur &        197
06/16/22    JMR        0.50     Strategy conference re: Diaz appeal;                             198
06/17/22     MR        1.20     Videoconference with trial counsel, Owen Diaz; memo to           199
06/21/22     MR        0.20     Review rejection of remittitur, emails re: same                  200
06/27/22     MR        0.10     Review trial setting order                                       201

07/05/22     MR        0.10     Email from defense counsel                                       203
07/06/22     MR        0.20     Emails re: meet and confer, trial scheduling                     204
07/08/22     MR        0.50     Review emails and resulting memo re: scope of retrial,           205
07/08/22     JMR       1.10     Research re: scope of retrial evidence;                          206
07/08/22     JMR       2.00     Strategy emails re: scope of retrial evidence;                   207
07/09/22     JMR       2.80     Research re: scope of retrial evidence;                          208
07/11/22     MR        1.20     Review, edit email re: evidence on damages retrial; emails       209
07/11/22   LC - JDM    0.20     Law Clerk: Call with Jono re: research on scope of               210
07/11/22   LC - JDM    2.10     Research scope of permissible evidence for damages               211
07/11/22     JMR       2.10     Draft memo re: scope of retrial evidence;                        212
07/11/22     JMR       0.20     Strategy conference re: scope of retrial evidence;               213
07/11/22     JMR       0.20     Strategy emails re: case management conference;                  214
07/11/22     JMR       0.30     Research re: scope of retrial evidence;                          215
07/12/22     MR        0.50     Emails re: Tesla's efforts to re-try liability; research,        216
07/12/22     JMR       0.60     Strategy emails re: case management conference;                  217
07/12/22     JMR       0.90     Research re: necessity of full retrial;                          218
07/12/22     JMR       0.30     Trial-setting conference;                                        219
07/12/22     JMR       0.10     Strategy conference re: trial evidence;                          220
07/13/22     MR        0.20     Review minute order, pre-trial order                             221
07/19/22     MR        0.20     Review state court decision from Larry Organ; emails with        222
07/22/22     MR        0.30     Emails re: research, scope of retrial, 9th Circuit cases, etc.   223
07/26/22     JMR       0.10     Strategy emails re: scope of retrial evidence;                   224
07/27/22   LC - JDM    0.20     Law Clerk: Call with Jono re: retrial evidence research;         225
07/27/22     JMR       0.20     Strategy conference re: scope of retrial evidence;               226
08/01/22     JMR       0.20     Strategy emails re: evidentiary issues;                          227
08/01/22   LC - JDM    2.40     Law Clerk: Research on scope of evidence permitted in            228
08/02/22     JMR       0.10     Strategy emails re: evidentiary issues;                          229
08/23/22     JMR       0.10     Email co-counsel re: transcript;                                 230
08/29/22     MR        0.10     Review exhibit list                                              231
09/02/22     MR        0.10     Email from defense counsel re: CMC                               232
09/06/22     JMR       0.10     Strategy emails re: meet and confer;                             233
09/09/22     MR        2.40     Prepare for and conduct meet and confer with Larry               234
                                Organ, Dan Posner, Asher Griffin, Dallas Bullard; strategy
09/09/22     JMR       0.20     Research re: Gasoline Products;                                  235
09/09/22     JMR       0.60     Strategy conference re: meet and confer;                         236
09/10/22     MR        0.70     Memo analyzing waiver, meet and confer, Gasoline                 237
09/14/22     MR        0.20     Email from defense counsel; email re: scheduling meet            238
09/15/22     MR        0.10     Emails with Jonathan Rosenthal re: waiver, Gasoline              239
09/15/22     JMR       0.20     Strategy emails re: Gasoline Products;                           240
09/15/22     JMR       3.20     Research re: Gasoline Products;                                  241
09/16/22     MR        2.30     Telephone conferences with Larry Organ, Jonathan                 242
                                Rosenthal re: Gasoline Products issues, meet and confer,
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 17 of 31
  Date     Biller    Hours .   Description                                                  Ref.
09/16/22   JMR        1.90     Research re: Gasoline Products;                              243
09/16/22   JMR        0.70     Strategy conference re: Gasoline Products;                   244
09/17/22   JMR        0.10     Research re: Gasoline Products;                              245
09/18/22   JMR        0.20     Strategy emails re: Gasoline Products;                       246
09/19/22    MR        1.50     Emails re: upcoming meet and confer, legal and factual       247
                               issues; prepare for meet and confer; videoconference re:
09/19/22   JMR        0.80     Strategy videoconference re: Gasoline Products;              248
09/20/22   MR         1.30     Prepare for and conduct meet and confer, telephone           249
09/20/22   JMR        1.00     Meet and confer re: Gasoline Products;                       250
09/20/22   JMR        0.20     Strategy conference re: Gasoline Products;                   251
09/23/22   MR         0.50     Review Tesla's draft CMC; edit same; emails with co-         252
09/24/22   MR         0.30     Revise edits to draft CMC statement; email to defense        253
09/24/22   JMR        0.20     Strategy emails re: Gasoline Products;                       254
09/26/22   MR         0.20     Emails from Dan Posner re: CMC; emails re: counter-          255
09/26/22   JMR        0.10     Strategy emails re: Gasoline Products;                       256
09/26/22   JMR        0.50     Research re: Gasoline Products;                              257
09/27/22   MR         0.70     Emails re: CMC revisions; telephone conference with          258
09/27/22   JMR        3.20     Research re: Gasoline Products;                              259
09/28/22   JMR        3.00     Research re: Gasoline Products;                              260
09/29/22   MR         1.10     Strategy conference with Larry Organ re: upcoming Case       261
09/29/22   JMR        3.40     Research re: Gasoline Products;                              262
09/30/22   MR         0.30     Strategy conference re: retrial issues                       263
09/30/22   JMR        0.10     Research re: Gasoline Products;                              264
09/30/22   JMR        0.40     Strategy conference re: Gasoline Products;                   265
09/30/22   JMR        5.90     Draft memo re: Gasoline Products issues;                     266
10/01/22   MR         0.50     Research; review Jonathan Rosenthal memo                     267
10/02/22   MR         1.00     Prepare for CMC re: Gasoline Products issues                 268
10/03/22   MR         2.20     Research; prepare for CMC; develop waiver arguments;         269
                               review Dan Posner email re: meet and confer; emails re:
10/03/22   JMR        0.20     Strategy emails re: Gasoline Products;                       270
10/03/22   JMR        1.10     Strategy conference re: Gasoline Products;                   271
10/04/22   MR         0.80     Prepare for and conduct CMC; telephone conferences           272
10/04/22   JMR        0.30     Attend case management conference;                           273
10/14/22   MR         0.80     Review Tesla's motion for new liability and damages trial;   274
10/16/22   MR         0.30     Emails re: press inquiries                                   275
10/17/22   MR         0.40     Research cases cited in Tesla's motion                       276
10/17/22   JMR        0.40     Review Tesla motion for new trial;                           277
10/18/22   MR         0.70     Strategy conference with Jonathan Rosenthal re:              278
                               opposition to motion for new trial; telephone conference
10/18/22   JMR        0.50     Strategy conference re: opposition brief;                    279
10/18/22   JMR        0.30     Strategy emails re: opposition brief;                        280
10/19/22   MR         0.40     Review new 9th Circuit punitive damages ratio decision;      281
10/23/22   JMR        2.10     Research re: opposition to new trial motion;                 282
10/24/22   JMR        0.10     Research re: opposition to new trial motion;                 283
10/24/22   JMR       10.70     Draft opposition to new trial motion;                        284
10/25/22   JMR       14.10     Draft opposition to new trial motion;                        285
10/26/22   MR         1.80     Edit Gasoline Products brief                                 286
10/26/22   JMR        0.70     Draft opposition to new trial motion;                        287
10/26/22   JMR        0.20     Strategy emails re: opposition brief;                        288
10/27/22   MR         3.10     Edit brief                                                   289
10/28/22   MR         0.70     Edit Gasoline Products brief; emails, videoconference        290
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 18 of 31
  Date       Biller    Hours .   Description                                                  Ref.
10/28/22     JMR        0.10     Research re: scope of retrial;                               291
10/28/22     JMR        0.30     Review transcript of 7/12 hearing;                           292
10/29/22      MR        7.40     Edit brief; emails with Jonathan Rosenthal re: same          293
10/30/22      MR        2.30     Research, further edits to brief; emails with Jonathan       294
10/31/22      MR        0.30     Review Jonathan Rosenthal research re: 7th Amendment         295
10/31/22     JMR       10.00     Draft opposition to new trial motion;                        296
11/01/22     JMR        0.70     Draft opposition to new trial motion;                        297
11/01/22      MR        2.70     Edit brief; review cited cases; emails with Jonathan         298
11/01/22    PL - JKS    2.40     Paralegal: Review Pls. Opp. to Def. Mot. for New Trial on    299
11/02/22     JMR        0.20     Strategy emails re: opposition brief;                        300
11/02/22      MR        0.30     Review new edits, emails with Jonathan Rosenthal,            301
11/02/22    PL - JKS    5.20     Paralegal: Check citations for brief Opp. Def. Mot. for      302
11/03/22   PL - REW     6.10     Litigation Assistant: Cite check of Opposition to Motion     303
11/03/22   PL - LCN     4.80     Paralegal: Cite-check opposition to Def's mot. for a new     304
11/03/22     JMR        7.80     Draft opposition to new trial motion;                        305
11/03/22    PL - JKS    7.50     Paralegal: Check citations for brief Opp. Def. Mot. for      306
11/04/22     JMR        4.40     Draft opposition to new trial motion;                        307
11/04/22      MR        2.40     Further edits; review email from Cimone Nunley;              308
11/07/22      MR        0.30     Emails re: press comment                                     309
11/17/22      MR        0.30     Prepare oral argument outline                                310
11/18/22     JMR        0.80     Review Tesla Reply brief;                                    311
11/18/22      MR        1.60     Prepare for oral argument; review defendant's reply brief,   312
11/21/22      MR        1.10     Prepare for oral argument                                    313
11/22/22      MR        1.20     Prepare oral argument outline                                314
12/05/22      MR        2.10     Prepare for oral argument; review cases; revise outline;     315
12/05/22     JMR        0.10     Strategy emails re: hearing on new trial motion;             316
12/05/22     JMR        0.60     Research re: new trial hearing;                              317
12/06/22      MR        3.20     Prepare for hearing; review briefs, cases; emails with       318
12/06/22     JMR        0.70     Research re: new trial hearing;                              319
12/06/22     JMR        2.80     Strategy emails re: hearing on new trial motion;             320
12/07/22      MR        1.30     Prepare and conduct hearing re: Gasoline Products;           321
                                 strategy conference re: retrial issues with co-counsel;
12/07/22     JMR        0.40     Hearing on motion for new trial;                             322
12/07/22     JMR        0.30     Strategy conference re: next steps post-hearing;             323
12/09/22     MR         0.10     Emails re: jury consultant                                   324
12/09/22     JMR        0.40     Strategy emails re: scope of retrial;                        325
12/12/22     MR         3.50     Review Jonathan Rosenthal memo re: new trial evidence;       326
                                 prepare for and conduct strategy meeting re: new trial
12/12/22     JMR        0.10     Strategy emails re: scope of retrial;                        327
12/12/22     JMR        2.70     Strategy videoconference re: scope of retrial;               328
12/13/22     JMR        0.80     Review ruling re: Gasoline Products;                         329
12/14/22     JMR        1.50     Draft proposed jury instructions;                            330
12/18/22     MR         0.60     Edit jury instructions, emails re: same                      331
12/20/22     MR         0.20     Strategy conference with co-counsel re: jury instructions,   332
12/21/22     MR         1.70     Prepare for and conduct meet and confer with defense         333
12/29/22     MR         0.30     Review expert valuation report; emails re: same              334
01/03/23     MR         0.20     Emails with defense counsel, co-counsel re: meet and         335
01/04/23     MR         2.00     Review annotated trial transcripts; strategy conference      336
01/04/23     JMR        0.30     Review draft jury instructions;                              337
01/04/23     JMR        1.40     Strategy conference re: scope of retrial evidence;           338
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 19 of 31
  Date     Biller    Hours .   Description                                                     Ref.
01/05/23    MR        3.10     Research re: punitive damages retrial issues; prepare for       339
                               and conduct strategy conference re: retrial issues; edit
01/05/23   JMR        1.80     Strategy conference re: scope of retrial evidence;              340
01/05/23   JMR        0.80     Revise joint statement for status conference;                   341
01/06/23   MR         4.00     Edit draft CMC statement; edit jury instructions,               342
                               statement of the case; prepare for and conduct meet and
01/06/23   JMR        0.60     Draft jury instructions;                                        343
01/06/23   JMR        1.00     Meet and confer re: scope of retrial;                           344
01/06/23   JMR        1.40     Strategy conference re: meet and confer;                        345
01/08/23   MR         0.80     Edit witness list and description of testimony; emails re:      346
01/09/23   MR         2.90     Edit Joint Statement on Evidence; emails re: same;              347
                               telephone conferences with Jonathan Rosenthal re: same;
01/09/23   JMR        2.50     Revise joint statement for status conference;                   348
01/09/23   JMR        1.20     Strategy conference re: meet and confer;                        349
01/10/23   MR         3.10     Review Tesla's portion of joint statement; edit responses;      350
01/10/23   JMR        3.60     Revise joint statement for status conference;                   351
01/11/23   MR         0.60     Review and annotate final version of joint filing; emails re:   352
01/15/23   MR         0.50     Research cases cited by Tesla; prepare for CMC                  353
01/16/23   MR         0.30     Review Tesla's red-lined and clean version of jury              354
01/17/23   MR         2.80     Emails with defense counsel, co-counsel, re: CMC, MILs,         355
                               scheduling; telephone conference re: hearing, exhibits,
01/17/23   JMR        0.10     Strategy emails re: exhibits;                                   356
01/17/23   JMR        0.50     Status conference;                                              357
01/17/23   JMR        0.20     Strategy conference re: pretrial issues;                        358
01/18/23   MR         1.10     Telephone conference with Larry Organ re: pre-trial and         359
01/19/23   MR         1.70     Research re: jury instruction issues; emails re: meet and       360
01/21/23   MR         0.40     Emails re: motions in limine; review drafts, edits              361
01/22/23   MR         0.40     Review motions in limine; emails with Jonathan Rosenthal        362
01/22/23   JMR        4.10     Draft motions in limine;                                        363
01/23/23   MR         2.20     Edit MILs; emails with Jonathan Rosenthal re: same              364
01/23/23   JMR        2.50     Draft motions in limine;                                        365
01/24/23   MR         1.10     Emails with co-counsel re: MILs, memo re: same; strategy        366
01/24/23   JMR        0.60     Draft motions in limine;                                        367
01/24/23   JMR        0.90     Reserach caselaw re: punitive damages;                          368
01/24/23   JMR        1.20     Strategy conference re: motions in limine;                      369
01/25/23   MR         2.50     Review memo analyzing punitive damages cases, scope of          370
                               admissible evidence; emails re: same; prepare for and
01/25/23   JMR        1.20     Research re: punitive damages caselaw;                          371
01/25/23   JMR        1.40     Meet and confer re: evidence;                                   372
01/25/23   JMR        0.70     Strategy conference re: MILs;                                   373
01/25/23   JMR        0.50     Strategy emails re: MILs;                                       374
01/26/23   MR         0.90     Emails with Jonathan Rosenthal, co-counsel re: MILs,            375
01/26/23   JMR        0.80     Strategy emails re: MILs;                                       376
01/26/23   JMR        4.50     Research re: MILs;                                              377
01/26/23   JMR        6.30     Draft motions in limine;                                        378
01/27/23   MR         3.60     Research re: punitive damages issues; emails re: same;          379
01/27/23   JMR        7.00     Draft motions in limine;                                        380
01/28/23   MR         1.80     Edit MILs; emails re: same with Jonathan Rosenthal;             381
01/28/23   JMR        1.70     Draft motions in limine;                                        382
01/29/23   MR         0.20     Emails re: MILs, relevance                                      383
01/30/23   MR         4.00     Review co-counsel's edits to MILs; revised MILs, memo re:       384
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 20 of 31
  Date     Biller    Hours .   Description                                                    Ref.
01/30/23   JMR        0.90     Strategy emails re: motions in limine;                         385
01/30/23   JMR        1.90     Strategy conference re: motions in limine;                     386
01/31/23    MR        2.30     Edit jury instructions; emails with co-counsel re: same;       387
                               emails re: past and future damages, further edits to jury
01/31/23   JMR        0.70     Draft proposed jury instructions;                              388
01/31/23   JMR        0.40     Strategy emails re: jury instructions;                         389
01/31/23   JMR        2.20     Draft motions in limine;                                       390
02/01/23   MR         2.80     Review and annotate Tesla's MILs, jury instructions,           391
                               exhibit and witness list, etc.; emails re: same;
02/01/23   JMR        1.00     Review Tesla MILs;                                             392
02/01/23   JMR        1.90     Strategy conference re: opposition to MILs;                    393
02/02/23   MR         3.20     Prepare for and conduct meet and confer; follow-up             394
02/02/23   JMR        1.70     Meet and confer with opposing counsel over pretrial            395
02/02/23   JMR        0.30     Strategy conference re: meet and confer;                       396
02/03/23   MR         1.00     Review Bernard Alexander edits to MIL footnote;                397
                               telephone conference MILs with Larry Organ; review
02/03/23   JMR        0.30     Strategy emails re: Motions in Limine;                         398
02/04/23   MR         0.50     Review Tesla's filing under seal; emails with co-counsel re:   399
02/04/23   JMR        2.00     Draft MIL oppositions;                                         400
02/05/23   JMR        7.70     Draft MIL oppositions;                                         401
02/06/23   MR         2.50     Emails with Jonathan Rosenthal re: opposition to MILs;         402
                               edit oppositions; review withdrawal of motion to seal;
                               edit annotations to jury instructions; emails re: Tesla's
02/06/23   JMR        0.40     Legal research re: punitive damages retrial standard;          403
02/06/23   JMR       12.40     Draft MIL oppositions;                                         404
02/07/23   MR         3.90     Edit MIL oppositions, comments on Tesla's jury                 405
                               instructions; emails with Jonathan Rosenthal re: same;
02/07/23   JMR        3.70     Draft MIL oppositions;                                         406
02/08/23   MR         4.40     Edit punitive damages brief; emails re: same ;                 407
                               videoconference with co-counsel re: punitive damages,
                               statement of case, jury instructions, etc.; retrial issues;
02/08/23   JMR        0.80     Strategy conference re: jury instructions;                     408
02/08/23   JMR        2.40     Edit punitive damages instruction brief;                       409
02/09/23   MR         0.80     Review filed documents; review, edit draft joint pretrial      410
02/09/23   JMR        0.30     Draft MIL oppositions;                                         411
02/10/23   MR         1.80     Review revisions to MIL opposition briefs; research and        412
                               draft inserts; conference call re: edits with co-counsel
02/12/23    MR        1.50     Edit joint pretrial conference statement; emails re:           413
                               witness preparation, nominal damages, punitive
02/13/23    MR        2.90     Review draft stipulations; strategy conference with            414
                               Rosenthal re nominal damages; further edits to joint
                               pretrial statement; emails re same; emails re stipulations,
02/13/23   JMR        0.70     Edit joint pretrial statement;                                 415
02/13/23   JMR        0.10     Strategy conference re: pretrial statement;                    416
02/14/23   MR         5.30     Review pre-trial filings; all day trial preparation            417
02/14/23   JMR        4.50     Strategy conference re: trial strategy;                        418
02/15/23   MR         1.50     Strategy conferences with co-counsel; prepare for and          419
02/16/23   MR         2.80     Prepare for hearings; review filings; review stipulation;      420
02/17/23   MR         0.30     Review stipulation; telephone conference with Larry            421
02/18/23   MR         1.80     Review filings; prepare for pretrial hearing                   422
02/19/23   MR         0.20     Emails re: trial themes                                        423
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 21 of 31
  Date     Biller    Hours .   Description                                                    Ref.
02/20/23    MR        0.50     Prepare for pretrial hearing                                   424
02/21/23    MR        0.30     Emails re: trial themes, demonstratives                        425
02/22/23    MR        4.70     Prepare for pretrial conference; outline argument; review      426
                               cases; research; prepare for and conduct meet and confer
02/23/23   MR         2.70     Research, review briefs; prepare for pretrial conference       427
02/23/23   JMR        0.40     Strategy emails re: closing argument;                          428
02/24/23   MR         5.80     Prepare for oral argument; research; edit outline; review      429
                               court's draft instructions; emails re: same; emails with
02/24/23   JMR        1.50     Legal research re: scope of retrial;                           430
02/24/23   JMR        0.50     Strategy conference re: pretrial conference;                   431
02/25/23   MR         3.30     Emails with Jonathan Rosenthal re: opposition to motion        432
                               to preclude reference to prior trial; edit opposition; email
02/25/23   JMR        1.00     Edit brief re: references to prior jury trial;                 433
02/26/23   MR         2.20     Emails re: mitigation, intentional conduct; review focus       434
02/27/23   MR         5.40     Prepare for pretrial conference, travel to and from court;     435
                               oral argument re: MILs, instructions, etc., strategy
02/27/23   JMR        0.50     Strategy emails re: pretrial conference;                       436
02/27/23   JMR        1.70     Pre-trial conference;                                          437
02/28/23   MR         0.90     Respond to press inquiries; emails with co-counsel re:         438
                               same; prepare response to court re: Tesla's new
03/01/23    MR        3.10     Review Tesla's proposed modifications to jury                  439
                               instructions; research re: same; strategy conferences with
03/01/23   JMR        0.20     Strategy emails re: proposed jury instructions;                440
03/01/23   JMR        0.50     Review Tesla's revised proposed jury instructions;             441
03/01/23   JMR        1.00     Strategy emails re: jury instructions;                         442
03/01/23   JMR        2.20     Research nominal punitive damages;                             443
03/02/23   MR         5.00     Emails with co-counsel re: responding to Court questions,      444
                               Tesla filing; draft brief re: redlined instructions;
03/02/23   JMR        2.30     Videoconference with co-counsel re: trial strategy;            445
03/02/23   JMR        1.70     Revise brief re: Tesla's proposed jury instructions;           446
03/03/23   MR         2.80     Edit briefs; emails re: same; conference calls with Cimone     447
                               Nunley, Larry Organ re: today's filings; further edits;
03/03/23   JMR        0.40     Revise proffer re: Wheeler incident;                           448
03/03/23   JMR        0.20     Revise brief re: Tesla's proposed jury instructions;           449
03/06/23   MR         0.30     Emails re: exhibit binders; research re: damages issues        450
03/07/23   JMR        0.10     Legal research re: punitive damages;                           451
03/08/23   MR         1.70     Pretrial meeting; review new trial motion in securities        452
03/08/23   JMR        0.50     Strategy conference re: trial strategy;                        453
03/13/23   MR         0.30     Telephone conference with Larry Organ re: trial and pre-       454
03/14/23   MR         0.40     Strategy conference with Jonathan Rosenthal re: trial          455
03/14/23   JMR        0.30     Strategy conference (MR) re: Diaz trial;                       456
03/15/23   MR         0.50     Review order re: motions in limine, punitive damages,          457
03/15/23   JMR        0.50     Review order re: punitive damages and MILs;                    458
03/16/23   MR         0.40     Review revised preliminary jury instructions; memo to co-      459
03/18/23   MR         0.20     Emails re: causation                                           460
03/20/23   MR         0.30     Review deposition designations                                 461
03/20/23   JMR        0.40     Research re: punitive damages strategy;                        462
03/21/23   MR         0.60     Emails with Larry Organ, Jonathan Rosenthal re: trial          463
03/22/23   MR         2.80     All-counsel strategy conference; review juror list,            464
03/22/23   JMR        2.10     Strategy videoconference with co-counsel re: trial             465
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 22 of 31
  Date     Biller    Hours .   Description                                                     Ref.
03/23/23    MR        1.00     Review defendant's motion to bring materials to                 466
                               courtroom, order re: same; order re upcoming hearing;
03/24/23    MR        3.40     Emails re: Tesla's objections, responses; edit responses to     467
                               three briefs; emails re: trial issues; further edits; prepare
03/24/23   JMR        0.50     Review Tesla's objections;                                      468
03/24/23   JMR        3.00     Draft responses to Tesla's objections;                          469
03/24/23   JMR        0.90     Status conference;                                              470
03/25/23   MR         3.60     Review exhibits; participate in focus group assessment of       471
03/26/23   MR         2.10     Prepare for and conduct videoconference re: opening             472
03/27/23   MR         9.40     Trial - Monitor RealTime, texts, emails with co-counsel;        473
                               post-trial debriefing, meetings with co-counsel; edit
03/27/23   JMR        0.50     Travel to court;                                                474
03/27/23   JMR        8.50     Trial;                                                          475
03/27/23   JMR        0.80     Travel to co-counsel offices;                                   476
03/27/23   JMR        5.30     Trial work;                                                     477
03/27/23   JMR        0.30     Travel home;                                                    478
03/28/23   MR         9.20     Trial Day 2; review defendant's response to opening             479
                               statement objections; strategy conferences with co-
03/28/23   JMR        0.50     Travel to court;                                                480
03/28/23   JMR        6.00     Trial;                                                          481
03/28/23   JMR        0.80     Travel to co-counsel's offices;                                 482
03/28/23   JMR        6.80     Trial work;                                                     483
03/28/23   JMR        0.30     Travel home;                                                    484
03/29/23   MR        11.30     Trial Day 3: Review late night filings, response re: Wheeler    485
                               exhibit; texts and emails re: same; strategy conferences
                               re: temporal range of damages prepare for hearing;
03/29/23   JMR        0.50     Travel to court;                                                486
03/29/23   JMR        5.50     Trial;                                                          487
03/29/23   JMR        0.80     Travel to co-counsel's offices;                                 488
03/29/23   JMR        6.00     Trial work;                                                     489
03/29/23   JMR        0.30     Travel home;                                                    490
03/30/23   MR        13.50     Trial Day 4; strategy conferences with co-counsel; edit         491
                               briefs; review transcripts; edit brief re: DelaGrande,
03/30/23   JMR        0.50     Travel to court;                                                492
03/30/23   JMR        5.50     Trial;                                                          493
03/30/23   JMR        6.50     Trial work;                                                     494
03/30/23   JMR        0.50     Travel home;                                                    495
03/31/23   MR        10.60     Trial Day 5; edit briefs (mistrial, admonition, curative        496
                               instructions), review Tesla filings; prepare for and conduct
03/31/23   JMR        0.50     Travel to court;                                                497
03/31/23   JMR        9.00     Trial;                                                          498
03/31/23   JMR        0.50     Travel home from court;                                         499
04/02/23   MR         0.60     Prepare for and conduct strategy conferences with co-           500
04/02/23   JMR        0.50     Research re: mistrial motion;                                   501
04/02/23   JMR        0.50     Strategy conference with co-counsel re: Tesla's closing         502
04/03/23   JMR        0.50     Travel to court;                                                503
04/03/23   JMR        5.50     Await jury verdict at court;                                    504
04/03/23   JMR        0.50     Travel home from court;                                         505
04/05/23   MR         1.40     Strategy conference re: verdict, next steps, with Jonathan      506
04/05/23   JMR        0.40     Strategy conference (MR) re: post-trial motions;                507
04/05/23   JMR        1.20     Videoconference with co-counsel re: post-trial motions;         508
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 23 of 31
  Date     Biller    Hours .   Description                                                  Ref.
04/06/23    MR        0.40     Emails, texts, re: post-trial motions, judgment; telephone   509
04/06/23   JMR        0.10     Strategy emails re: fee application;                         510
04/06/23   JMR        0.60     Draft proposed judgment;                                     511
04/07/23    MR        0.30     Edit judgment, emails with Jonathan Rosenthal                512
04/07/23   JMR        0.40     Strategy emails re: proposed judgment;                       513
04/10/23    MR        0.50     Review revised draft judgment; emails re: same; emails       514
04/10/23   JMR        0.10     Strategy conference (MR) re: judgment;                       515
04/11/23    MR        0.20     Emails re: fee application                                   516
04/11/23    MR        0.50     Strategy conference with Larry Organ re: post-trial issues   517
04/11/23   JMR        0.10     Strategy emails re: fee briefing;                            518
04/11/23   JMR        2.30     Legal research re: post-trial motions;                       519
04/12/23    MR        0.30     Edit draft stipulation, emails re: same                      520
04/12/23   JMR        0.70     Legal research re: post-trial motions;                       521
04/13/23    MR        0.20     Edit stipulation; emails re: same                            522
04/14/23    MR        1.60     Research, emails re: fees; emails with Jonathan Rosenthal    523
                               re: new trial motion, appellate strategies;
04/14/23   JMR        0.60     Strategy conference (MR) re: new trial motions;              524
04/17/23   MR         0.10     Review stipulation re: fees                                  525
04/17/23   JMR        0.10     Strategy conference (SH) re: Diaz post-trial motions;        526
04/17/23   SEH        0.10     Strategy conference re: assignment;                          527
04/18/23   JMR        0.20     Strategy conference (SH) re: Diaz post-trial motions;        528
04/18/23   JMR        0.40     Strategy emails re: Diaz post-trial motions;                 529
04/18/23   SEH        0.30     Strategy conference with JR re: assignment;                  530
04/18/23   SEH        1.90     Legal research re: additur;                                  531
04/18/23   SEH        2.00     Legal research re: mistrial;                                 532
04/19/23   JMR        2.20     Legal research re: post-trial motions;                       533
04/19/23   JMR        1.60     Draft new trial motion;                                      534
04/19/23   SEH        5.20     Legal research re: mistrial;                                 535
04/20/23   MR         0.30     Review memo re: new trial, punitive damages,                 536
04/20/23   JMR        0.20     Strategy emails re: post-trial motion;                       537
04/20/23   JMR       10.40     Draft new trial motion;                                      538
04/20/23   SEH        0.70     Draft memo re: mistrial;                                     539
04/20/23   SEH        0.20     Legal research re: additur;                                  540
04/20/23   SEH        3.40     Legal research re: damages;                                  541
04/21/23   MR         0.30     Telephone conferences with Jonathan Rosenthal re: new        542
04/21/23   JMR       11.80     Draft new trial motion;                                      543
04/21/23   SEH        1.90     Legal research re: damages;                                  544
04/22/23   MR         1.90     Emails with Jonathan Rosenthal; edit new trial brief         545
04/22/23   JMR        8.90     Draft new trial motion;                                      546
04/23/23   JMR       14.80     Draft new trial motion;                                      547
04/24/23   MR         2.70     Review Jonathan Rosenthal memo; research cases re:           548
                               inherent authority to reinstate prior orders; emails re:
                               same; telephone conference with Jonathan Rosenthal
04/24/23   JMR        0.20     Strategy conference (MR) re: new trial motion;               549
04/24/23   JMR        8.50     Draft new trial motion;                                      550
04/25/23   MR         5.10     Emails with co-counsel; edit draft motion                    551
04/26/23   MR         0.90     Emails with Jonathan Rosenthal re: draft; edit fee           552
04/26/23   JMR        3.20     Draft new trial motion;                                      553
04/27/23    CJ        0.30     Strategy conference with Jonathan Rosenthal re: post-        554
04/27/23    CJ        1.90     Review background documents;                                 555
04/27/23    CJ        3.60     Draft brief in support of motion for new trial;              556
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 24 of 31
  Date      Biller    Hours .   Description                                                 Ref.
04/27/23     JMR       0.30     Strategy conference (CJ) re: post-trial motions;            557
04/27/23     JMR       4.50     Draft new trial motion;                                     558
04/27/23     JMR       0.50     Strategy emails re: briefing schedule;                      559
04/28/23      CJ       0.20     Strategy conference with Jonathan Rosenthal re: post-       560
04/28/23      CJ       0.10     Email correspondence re: post-trial briefing and            561
04/28/23     JMR       0.20     Strategy conference (CJ) re: post-trial motions;            562
04/28/23     JMR       0.10     Research administrative motion;                             563
04/28/23     JMR       2.00     Draft new trial motion;                                     564
04/29/23     MR        1.10     Edit new trial motion; emails re: same                      565
04/29/23     JMR       1.00     Draft new trial motion;                                     566
04/30/23     MR        0.70     Further edits, emails                                       567
04/30/23      CJ       0.80     Review and edit brief in support of motion for new trial;   568
05/01/23      CJ       0.10     Review edits to stipulation;                                569
05/02/23      CJ       0.30     Email correspondence re: stipulation;                       570
05/02/23      CJ       1.50     Review email and juror interview notes and legal research   571
05/02/23     JMR       0.50     Draft new trial motion;                                     572
05/03/23     MR        1.20     Emails re: juror declarations, research re: same            573
05/03/23      CJ       0.40     Strategy emails and email correspondence re: juror          574
05/03/23      CJ       2.20     Review legal research re: juror declaration and email       575
05/04/23      CJ       4.70     Draft motion for new trial;                                 576
05/05/23   PL - CJS    1.70     Paralegal: Do cite check re: Motion for Mistrial;           577
05/05/23     MR        2.30     Edit new trial motion; emails re: same                      578
05/05/23      CJ       6.30     Draft new trial motion;                                     579
05/05/23      CJ       0.10     Strategy conference with Chloe Shively and Luca Nelson      580
05/05/23     JMR       2.00     Draft new trial motion;                                     581
05/06/23     MR        0.80     Review further edits; revise brief; emails re: same         582
05/06/23      CJ       0.40     Draft and email correspondence re: new trial motion;        583
05/06/23     JMR       1.00     Draft new trial motion;                                     584
05/07/23      CJ       1.40     Draft new trial motion;                                     585
05/08/23   PL - CJS    3.30     Paralegal: Do cite check re: Motion for Mistrial;           586
05/08/23   PL - LCN    2.30     Paralegal: Cite-check motion for mistrial;                  587
05/08/23      CJ       5.70     Draft new trial motion and proposed order;                  588
05/08/23      CJ       0.10     Strategy conference re: citecheck with Chloe Shively;       589
05/09/23     MR        0.70     Emails, review and respond re: further edits; emails with   590
05/09/23      CJ       2.00     Draft new trial motion;                                     591
05/09/23      CJ       0.10     Strategy conference with Michael Rubin re: new trial        592
05/10/23     MR        0.90     Review filed version of new trial motion; review            593
05/10/23      CJ       0.10     Email correspondence re: Tesla's Rule 59 motion;            594
05/10/23      CJ       0.50     Review Tesla's Rule 59(e) motion;                           595
05/19/23      CJ       2.10     Review Tesla's Rule 59 motion, and prior briefing and       596
05/19/23     JMR       0.20     Review motion to alter judgment;                            597
05/19/23     JMR       0.50     Review motion for judgment as a matter of law;              598
05/22/23     MR        0.20     Emails with Corinne Johnson, Jonathan Rosenthal re:         599
05/22/23      CJ       0.80     Legal research and prepare for strategy conference re:      600
05/22/23      CJ       0.30     Strategy conference with Jono Rosenthal re: opposition to   601
05/22/23     JMR       0.40     Strategy conference with Corinne Johnson re: opposition     602
05/24/23     JMR       2.30     Research re: opposition to Tesla's post-trial motion;       603
05/24/23     JMR       0.20     Draft opposition to Tesla's post-trial motion;              604
05/24/23     JMR       2.10     Draft opposition to Tesla's post-trial motion;              605
05/24/23     JMR       1.50     Draft opposition to Tesla's post-trial motion;              606
05/26/23      CJ       0.30     Strategy emails re: reply brief;                            607
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 25 of 31
  Date       Biller    Hours .   Description                                                    Ref.
05/27/23     JMR        6.40     Draft opposition to Tesla's post-trial motion;                 608
05/27/23     JMR        1.00     Draft opposition to Tesla's post-trial motion;                 609
05/28/23     JMR        2.80     Draft opposition to Tesla's post-trial motion;                 610
05/30/23       CJ       9.90     Draft opposition brief to Tesla's Rule 59 motion;              611
05/30/23       CJ       0.20     Telephone call with Jono Rosenthal re: answering brief;        612
05/30/23       CJ       0.30     Video call with Malina Simard-Halm re: legal research for      613
05/30/23   LC - MSH     0.20     Law Clerk: Strategy conference with Corinne Johnson re:        614
05/30/23   LC - MSH     2.00     Research re: punitive damage ratios                            615
05/30/23     JMR        0.20     Strategy conference with Corinne Johnson re: opposition        616
05/31/23      MR        0.80     Edit opposition to Tesla's post-trial motion to reduce         617
05/31/23       CJ       3.00     Legal research and email strategy conference re: the           618
05/31/23   LC - MSH     2.50     Law Clerk: Legal Research re: punitive damage ratios;          619
06/01/23       CJ       0.20     Strategy conference with Malina Simard-Halm re: legal          620
06/01/23       CJ       6.10     Draft opposition brief;                                        621
06/01/23      MR        1.50     Emails re: additional research; edit opposition; emails re:    622
06/01/23   LC - MSH     0.10     Law Clerk: Strategy Conference re: punitive damages;           623
06/01/23   LC - MSH     1.70     Legal Research re: punitive damage ratios;                     624
06/01/23     JMR        0.70     Draft opposition to Tesla's post-trial motion;                 625
06/02/23       CJ       1.10     Draft opposition brief;                                        626
06/02/23      MR        0.60     Further edits to opposition brief; emails re: same             627
06/02/23   LC - MSH     0.60     Law Clerk: Legal research re: potential harm in punitive       628
06/04/23       CJ       2.00     Legal research and strategy emails re: answering brief;        629
06/05/23       CJ       1.30     Legal research and strategy emails re; opposition brief;       630
06/05/23       CJ       0.10     Strategy conference with Michael Rubin re: opposition          631
06/05/23       CJ       0.20     Strategy emails re: drafting oppostion brief;                  632
06/05/23    PL - CJS    0.40     Paralegal: Do cite check re: Opposition to Tesla post-trial    633
06/05/23      MR        1.00     Emails re: pending motions, new arguments; review co-          634
06/06/23       CJ       2.00     Draft opposition brief to Tesla's Rule 59 motion;              635
06/06/23    PL - CJS    4.30     Paralegal: Do cite check re: Opposition to Tesla post-trial    636
06/07/23       CJ       1.90     Draft and file opposition to Tesla's Rule 59 motion;           637
06/07/23      MR        1.50     Final edits to opposition brief; review Tesla's opposition     638
06/07/23     JMR        0.30     Review Tesla opposition brief;                                 639
06/08/23       CJ       4.00     Review Tesla's opposition to new trial motion and prior        640
06/08/23      MR        1.50     Review, annotate Tesla's opposition; emails with Larry         641
06/09/23       CJ       0.50     Strategy conference with Michael Rubin and Jono                642
06/09/23       CJ       1.00     Legal research and review prior orders, briefing, and          643
06/09/23       CJ       0.30     Strategy conference with Michael Rubin re: reply brief;        644
06/09/23      MR        2.40     Analyze reply brief issues; research re: same;                 645
06/09/23     JMR        0.50     Strategy conference (MR, CJ) re new trial reply brief;         646
06/10/23      MR        3.80     Research re: reply brief; emails with co-counsel re: same;     647
06/11/23       CJ       7.30     Review trial transcripts and prior case filings and orders     648
06/11/23      MR        4.70     Review record; research and draft memo re: reply               649
06/12/23       CJ       9.90     Review Michael Rubin's summary and Jonathan                    650
                                 Rosenthal's outline and trial transcripts and other case
06/12/23     MR         1.20     Emails re: issues with Corinne Johnson; edit memo to co-       651
                                 counsel re: reply brief issues; emails re: same; review
06/12/23     JMR        0.20     Strategy emails re reply brief;                                652
06/12/23     JMR        2.40     Review Tesla opposition brief;                                 653
06/13/23      CJ        7.30     Legal research and draft reply brief;                          654
06/13/23     MR         0.80     Review and annotate Jonathan Rosenthal memo re: reply          655
06/14/23      CJ        7.10     Legal research and draft reply brief in support of new trial   656
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 26 of 31
  Date       Biller   Hours .   Description                                                   Ref.
06/14/23       CJ      1.00     Video conference with Cimone and Larry and Michael            657
06/14/23       CJ      0.20     Videoconference with Cimone Nunley re: reply brief;           658
06/14/23       CJ      0.20     Strategy conference with Michael Rubin re: reply brief;       659
06/14/23      MR       1.40     Telephone conference with Corinne Johnson re: reply           660
06/15/23       CJ      5.70     Draft reply brief in support of new trial motion;             661
06/15/23       CJ      0.20     Strategy emails re: research;                                 662
06/15/23       CJ      0.20     Strategy conference with Malina Simard-Halm re: legal         663
06/15/23   LC - MSH    0.20     Law Clerk: Strategy Conference re: Professional               664
06/15/23   LC - MSH    0.90     Legal Research re: professional responsibilty rules;          665
06/16/23       CJ      7.50     Draft reply brief in support of new trial motion;             666
06/16/23   LC - MSH    2.00     Law Clerk: Legal Research re: professional misconduct;        667
06/16/23   LC - MSH    3.00     Legal Research re: Professional misconduct;                   668
06/17/23       CJ      6.50     Draft brief;                                                  669
06/18/23       CJ      6.50     Draft reply brief in support of new trial motion;             670
06/19/23       CJ      4.00     Draft reply brief in support of new trial motion;             671
06/20/23       CJ      9.50     Draft reply brief in support of new trial motion;             672
06/20/23      MR       0.30     Review and comment on Dustin Collier's memo re:               673
06/20/23   LC - MSH    5.10     Law Clerk: Legal Research Memo re: Professional               674
06/21/23       CJ      6.20     Draft reply brief in support of new trial motion;             675
06/21/23   LC - MSH    1.50     Law Clerk: Legal research re: professional misconduct;        676
06/21/23   LC - MSH    3.00     Legal research re: Scope of retrial;                          677
06/21/23   LC - MSH    0.50     Reading draft briefings to familiarize with the case;         678
06/22/23       CJ      0.20     Strategy conference with Malina Simard-Halm re: legal         679
06/22/23       CJ     10.00     Draft reply brief in support of new trial motion;             680
06/22/23      MR       5.20     Edit reply brief; emails with Corinne Johnson                 681
06/22/23   LC - MSH    4.80     Law Clerk: Legal Research re: scope of retrial;               682
06/22/23   LC - MSH    0.20     Strategy Conference re: scope of retrial;                     683
06/23/23       CJ      9.20     Draft reply brief in support of new trial motion;             684
06/23/23      MR       1.00     Emails re: legal theories; edit brief; review new research;   685
06/23/23     JMR       0.40     Strategy emails re post-trial motions;                        686
06/24/23       CJ      8.50     Draft reply brief in support of new trial motion;             687
06/25/23      MR       5.90     Review, edit Corinne Johnson draft; emails re: same           688
06/25/23     JMR       2.30     Review Diaz reply brief;                                      689
06/26/23       CJ      5.80     Draft reply brief in support of new trial motion;             690
06/26/23      MR       1.60     Review edits; further revisions to draft; emails with co-     691
06/27/23      MR       0.30     Emails with co-counsel                                        692
06/28/23       CJ      5.40     Draft reply brief and review evidence and transcripts for     693
06/28/23       CJ      0.10     Strategy conference with Michael Rubin re: reply brief;       694
06/28/23      MR       2.60     Review Larry Organ edits, Marquis Hood's cite-checking        695
                                and edits, Nunley edits; telephone conference with
06/29/23      CJ       1.60     Draft reply brief in support of new trial motion;             696
06/29/23     MR        0.80     Edit reply; emails re: same                                   697
06/29/23   PL - LM     6.90     Paralegal: Cite check Reply iso Mot for a Retrial;            698
06/29/23    JMR        0.40     Draft reply brief in support of motion for new trial;         699
06/30/23      CJ       3.10     Draft and file reply brief;                                   700
06/30/23     MR        1.40     Further edits, memo re: prejudice; review and annotate        701
06/30/23   PL - LM     3.20     Paralegal: Cite check Reply iso Mot for a Retrial;            702
07/05/23      CJ       0.30     Review Tesla's reply in support of Rule 59 motion to          703
07/08/23     MR        3.50     Prepare for July 19 hearings; prepare oral argument           704
07/09/23     MR        1.50     Prepare for oral argument                                     705
07/10/23     MR        1.90     Prepare for oral argument; prepare outline; review court      706
      Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 27 of 31
  Date     Biller     Hours .   Description                                                    Ref.
07/11/23    MR         0.30     Emails re attorneys’ fees motion;                              707
07/12/23    MR         0.70     Prepare Rubin fees declaration                                 708
07/14/23    MR         0.40     Prepare fee declaration, exhibits; emails with Cimone          710
07/25/23    MR         0.30     Telephone conference with Larry Organ re: fee                  711
08/04/23    MR         0.50     Telephone conference with Larry Organ, Cimone Nunley           712
08/04/23    CJ         0.20     Review draft brief re: withheld documents;                     713
08/05/23    MR         3.80     Research, edit Notice of New Evidence; emails re: same;        714
                                telephone conference re: new evidence with Larry Organ;
08/06/23    MR          0.30    Telephone conference with Larry Organ re: undisclosed          715
08/07/23    MR          3.60    Review Tesla's response to meet and confer email; draft        716
                                response; emails with co-counsel re: same; further edits
08/08/23    MR          1.10    Emails re: draft, filing, strategy with Cimone Nunley, Larry   717
                                Organ; review Cimone Nunley edits; final edits to brief,
08/15/23    MR          2.00    Research re: Quinn Emanuel hourly rates; emails re:            718
08/16/23    MR          1.90    Emails re: reply brief; prepare for and conduct                719
                                videoconference with co-counsel re: reply; emails re:
08/17/23    MR          3.20    Edit brief; emails with co-counsel re: issues, arguments,      720
08/18/23    MR          1.50    Emails re: filing, arguments, edits; review final versions     721
09/28/23    MR          0.30    Review reports re: EEOC lawsuit against Tesla; emails re:      722
10/04/23    CJ          0.90    Review order on post-trial motions;                            723
10/04/23    CJ          0.90    Videoconference with Michael Rubin, Cimone Nunley,             724
                                Bernard Alexander, Dustin Collier, Larry Organ, Sabrina
10/04/23    CJ          0.30    Strategy conference with Michael Rubin re: order on post-      725
10/04/23    MR          2.30    Review order; videoconference with co-counsel; analyze         726
10/05/23    MR          1.30    Diaz fees : Edit fees declarations; telephone conference       727
10/06/23    MR          0.30    Diaz fees: Emails re fee application; edit declarations        728
                    1,410.25
Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 28 of 31




                 Exhibit B
Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 29 of 31

                            ALTSHULER BERZON LLP

                                    Costs



 Row Labels                 Sum of Cost

 Copies / Printing             $389.00

 Court Electronic Records       $21.60

 Online Legal Research        $2,612.35

 Postage                         $0.57

 Transcript                     $13.65

 Travel                        $120.00

 Grand Total                  $3,157.17
             Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 30 of 31


 Matter     Date      Atty          Category               Cost . Description
1583.001   12/31/21          Court Electronic Records     $2.90   Court Electronic Records
1583.001   12/31/21          Court Electronic Records    $10.20   Court Electronic Records
1583.001   06/30/22          Court Electronic Records     $0.30   Court Electronic Records
1583.001   09/30/22          Court Electronic Records     $0.60   Court Electronic Records
1583.001   12/31/22          Court Electronic Records     $0.50   Court Electronic Records
1583.001   03/31/23          Court Electronic Records     $7.10   Court Electronic Records
1583.001   10/31/21           Online Legal Research     $183.94   On Line Legal Research
1583.001   10/31/21           Online Legal Research       $4.04   On Line Legal Research
1583.001   11/30/21           Online Legal Research     $197.74   On Line Legal Research
1583.001   11/30/21           Online Legal Research       $7.96   On Line Legal Research
1583.001   12/31/21           Online Legal Research     $176.09   On Line Legal Research
1583.001   12/31/21           Online Legal Research       $0.53   On Line Legal Research
1583.001   01/31/22           Online Legal Research      $57.28   On Line Legal Research
1583.001   04/30/22           Online Legal Research     $259.25   On Line Legal Research
1583.001   04/30/22           Online Legal Research      $10.42   On Line Legal Research
1583.001   05/31/22           Online Legal Research     $169.94   On Line Legal Research
1583.001   06/30/22           Online Legal Research      $23.65   On Line Legal Research
1583.001   06/30/22           Online Legal Research      $11.14   On Line Legal Research
1583.001   07/31/22           Online Legal Research     $108.01   On Line Legal Research
1583.001   09/30/22           Online Legal Research     $279.37   On Line Legal Research
1583.001   10/30/22           Online Legal Research     $142.62   On Line Legal Research
1583.001   11/30/22           Online Legal Research     $123.25   On Line Legal Research
1583.001   11/30/22           Online Legal Research       $0.73   On Line Legal Research
1583.001   12/31/22           Online Legal Research      $33.02   On Line Legal Research
1583.001   01/31/23           Online Legal Research     $125.13   On Line Legal Research
1583.001   01/31/23           Online Legal Research       $4.85   On Line Legal Research
1583.001   02/28/23           Online Legal Research     $142.06   On Line Legal Research
1583.001   02/28/23           Online Legal Research       $0.43   On Line Legal Research
1583.001   03/31/23           Online Legal Research       $5.48   On Line Legal Research
1583.001   04/30/23           Online Legal Research     $280.34   On Line Legal Research
1583.001   05/31/23           Online Legal Research      $90.54   On Line Legal Research
1583.001   05/31/23           Online Legal Research       $1.12   On Line Legal Research
1583.001   06/30/23           Online Legal Research     $168.04   On Line Legal Research
1583.001   06/30/23           Online Legal Research       $0.38   On Line Legal Research
1583.001   09/30/23           Online Legal Research       $5.00   On Line Legal Research Bloomberg
1583.001   11/30/21             Copies / Printing        $18.40   Photocopy/Printing offsite, MR, drafts, record, cases
1583.001   12/31/21             Copies / Printing        $10.80   Photocopy/Printing offsite, MR, Reply brief, cases
1583.001   01/31/22             Copies / Printing        $58.80   Photocopy/Printing offsite, MR, trial transcript, cases
1583.001   04/30/22             Copies / Printing        $18.60   Photocopy/Printing offsite, MR, drafts
1583.001   05/31/22             Copies / Printing        $10.60   Photocopy/Printing offsite, MR, drafts. opposition reply
                                                                  Photocopy/Printing offsite, MR, Reply brief, cases, oral
1583.001   06/30/22             Copies / Printing        $15.40
                                                                  argument outline, order
1583.001   07/31/22             Copies / Printing         $1.80   Photocopy/Printing offsite, MR, emails
                                                                  Photocopy/Printing offsite, MR, Gasoline Products cases,
1583.001   09/30/22             Copies / Printing        $17.80
                                                                  research, memos
                                                                  Photocopy/Printing offsite, MR, tesla motion, research,
1583.001   10/31/22             Copies / Printing        $14.40
                                                                  drafts
1583.001   12/31/22             Copies / Printing         $1.00   Photocopy/Printing offsite, MR, emails
             Case 3:17-cv-06748-WHO Document 494-2 Filed 10/25/23 Page 31 of 31


                                                             Photocopy/Printing offsite, MR, cases; oral argument
1583.001   12/31/22          Copies / Printing      $8.60
                                                             outline
                                                             Photocopy/Printing offsite, MR, emails, draft pretrial
1583.001   01/31/23          Copies / Printing     $33.60
                                                             documents, MILs, jury instructions, etc
                                                             Photocopy/Printing offsite, MR, drafts, MILs, court filings,
1583.001   02/28/23          Copies / Printing     $44.60
                                                             emails, draft jury instructions
                                                             Photocopy/Printing in-office, MR, Filings, drafts, orders,
1583.001   03/31/23          Copies / Printing     $74.40
                                                             emails instructions, etc
                                                             Photocopy/Printing offsite, MR, Emails, drafts and final
1583.001   06/30/23          Copies / Printing     $40.80
                                                             opposition, Tesla's opposition; memos re reply
1583.001   07/31/23          Copies / Printing      $3.00    Photocopy/Printing offsite, MR, drafts
                                                             Photocopy/Printing off-site, MR, emails drafts re new
1583.001   08/31/23          Copies / Printing     $16.40
                                                             evidence
1583.001   10/27/22              Postage            $0.57    Postage
1583.001   03/27/23   JMR         Travel           $22.00    Travel (Cash Reimb.) parking at trial
1583.001   03/28/23   JMR         Travel           $22.00    Travel (Cash Reimb.) parking at trial
1583.001   03/29/23   JMR         Travel           $22.00    Travel (Cash Reimb.) parking at trial
1583.001   03/30/23   JMR         Travel           $32.00    Travel (Cash Reimb.) parking at trial
1583.001   03/31/23   JMR         Travel           $22.00    Travel (Cash Reimb.) parking at trial
1583.001   10/27/22             Transcript         $13.65    Transcripts Marla F. Knox, CSR Transcript of 7/12/22 CMC
                                                 $3,157.17
